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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

   CONRAD SMITH et. al.,                    )
                                            )
          Plaintiffs,                       )
                                            )
   v.                                       )    Civil Case No. 1:21-cv-02265-APM
                                            )
   DONALD J. TRUMP et al.,                  )
                                            )
          Defendants.                       )
                                            )
                                            )

  DEFENDANTS DONALD J. TRUMP FOR PRESIDENT, INC. AND MAKE
   AMERICA GREAT AGAIN PAC’S NOTICE OF SCRIVENER’S ERROR

        In June and July 2023, counsel for Defendants Donald J. Trump for President,

Inc. and Make America Great Again PAC (“Entity Defendants”) issued subpoenas

under Federal Rule of Civil Procedure 45, and Touhy requests to the federal

government agencies that received the Rule 45 subpoenas. In these documents, there

was a scrivener’s error that included President Trump in the list of defendants

represented by this firm that was defined as the defendants making the discovery

requests and on the issuing line of the subpoenas.

        While this firm continues to represent President Trump in this action, all

discovery in this case has been stayed as to President Trump due to order of this

Court. Dkt. No. 180, and all discovery requests in this case were intended to be made

only on behalf of the Entity Defendants. It was a scrivener’s error to include President

Trump in the defined term of these requests as a party involved in the discovery and
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on the Rule 45 subpoenas, rather than simply as a party also represented in the

matter.

      Notices of this error have been sent to each third-party that received these

discovery requests, with copies to all counsel of record in this case. Notably, none of

the third parties have substantively responded to the relevant requests. These notices

correct the language of the requests and specify that to the extent the requests are

issued by all three parties, they are withdrawn as to President Trump, but remain in

full effect as to the Entity Defendants.



Dated: August 4, 2023                         /s/ Jason C. Greaves
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                                              Trump, Donald J. Trump for
                                              President, Inc., and Make America
                                              Great Again PAC
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                           CERTIFICATE OF SERVICE

          I certify that on August 4, 2023, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



                                              /s/ Jason C. Greaves
                                              Jason C. Greaves

                                              Attorney for President Donald J.
                                              Trump, Donald J. Trump for
                                              President, Inc., and Make America
                                              Great Again PAC
